Case 1:15-cv-02184-RM-STV Document 123 Filed 09/10/18 USDC Colorado Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 15-CV-02184-RM-STV

  PRISON LEGAL NEWS, a project of the HUMAN RIGHTS DEFENSE CENTER,

         Plaintiff,

         v.

  FEDERAL BUREAU OF PRISONS,

        Defendant.
  ______________________________________________________________________________

                UNOPPOSED MOTION FOR WITHDRAWAL OF APPEARANCE



         Pursuant to District of Colorado Local Attorney Rule 5(b), David M. Shapiro, who has

  appeared as counsel to Plaintiff Prison Legal News (“PLN”) in the above-captioned matter,

  respectfully moves to withdraw as counsel in this case. In support thereof, the undersigned states

  as follows:

     1. Mr. Shapiro entered his appearance in this matter on October 9, 2015 (Doc. 12).

     2. Mr. Shapiro has complied with the notification requirements of District of Colorado

  Local Attorney Rule 5(b). Mr. Shapiro informed PLN in writing that the client is “responsible for

  complying with all court orders and time limitations established by applicable statutes and rules”

  and that the client “may not appear without counsel admitted to the bar of this court, and that

  absent prompt appearance of substitute counsel, pleadings and papers may be stricken, and

  default judgment or other sanctions may be imposed against the entity.” See attached Notice of

  Withdrawal of Appearance.

     3. No party will be prejudiced or otherwise affected by Mr. Shapiro’s withdrawal, as PLN is

  represented by several other counsel who have entered appearances in this matter.
Case 1:15-cv-02184-RM-STV Document 123 Filed 09/10/18 USDC Colorado Page 2 of 7




     4. The relief requested in this motion is sought in good faith and not for the purposes of

  delay.

                                 RULE 7.1(A) CERTIFICATION

           Mr. Shapiro conferred with Susan Prose, counsel to Defendant the Federal Bureau of

  Prisons, who stated that Defendant does not oppose this motion.

           WHEREFORE, the undersigned counsel respectfully requests to withdraw his appearance

  representing Plaintiff Prison Legal News in this matter.


  DATED: September 10, 2018                    Respectfully submitted,

                                               /s/ David M. Shapiro
                                               David M. Shapiro
                                               RODERICK AND SOLANGE
                                               MACARTHUR JUSTICE CENTER
                                               375 East Chicago Avenue
                                               Chicago, IL 60611
                                               (312) 503-0711
                                               Email: David.Shapiro@law.northwestern.edu




                                                  2
Case 1:15-cv-02184-RM-STV Document 123 Filed 09/10/18 USDC Colorado Page 3 of 7




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 10th day of September, 2018, the foregoing was

  electronically filed with the Clerk of the Court using the ECF/CM electronic filing system, which

  will send electronic notification to all counsel of record, including in-house counsel at Prison

  Legal News.

                                                               /s/ David M. Shapiro
                                                               David M. Shapiro




                                                   3
Case 1:15-cv-02184-RM-STV Document 123 Filed 09/10/18 USDC Colorado Page 4 of 7




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 15-CV-02184-RM-STV

  PRISON LEGAL NEWS, a project of the HUMAN RIGHTS DEFENSE CENTER,

         Plaintiff,

         v.

  FEDERAL BUREAU OF PRISONS,

        Defendant.
  ______________________________________________________________________________

                        NOTICE OF WITHDRAWAL OF APPEARANCE



         In accordance with District of Colorado Local Attorney Rule 5(b), the undersigned

  hereby certifies as follows:

     1. The undersigned intends to withdraw as counsel for Plaintiff Prison Legal News

  (“PLN”) in the above-captioned matter.

     2. Pursuant to District of Colorado Local Attorney Rule 5(b), the undersigned

  hereby notifies PLN of the following: (a) PLN is responsible for complying with all court orders

  and time limitations established by applicable statutes and rules; and (b) PLN may not appear

  without counsel admitted to the bar of this court, and that absent prompt appearance of substitute

  counsel, pleadings and papers may be stricken, and default judgment or other sanctions may be

  imposed against the entity.




                                                  4
Case 1:15-cv-02184-RM-STV Document 123 Filed 09/10/18 USDC Colorado Page 5 of 7




  DATED: September 10, 2018         Respectfully submitted,



                                    /s/ David M. Shapiro
                                    David M. Shapiro
                                    RODERICK AND SOLANGE
                                    MACARTHUR JUSTICE CENTER
                                    375 East Chicago Avenue
                                    Chicago, IL 60611
                                    (312) 503-0711
                                    Email: David.Shapiro@law.northwestern.edu




                                       5
Case 1:15-cv-02184-RM-STV Document 123 Filed 09/10/18 USDC Colorado Page 6 of 7




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 10th day of September, 2018, the foregoing was

  electronically filed with the Clerk of the Court using the ECF/CM electronic filing system, which

  will send electronic notification to all counsel of record, including in-house counsel at Prison

  Legal News.

                                                               /s/ David M. Shapiro
                                                               David M. Shapiro




                                                   6
Case 1:15-cv-02184-RM-STV Document 123 Filed 09/10/18 USDC Colorado Page 7 of 7




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No.: 15-CV-02184-RM-STV

  PRISON LEGAL NEWS, a project of the HUMAN RIGHTS DEFENSE CENTER,

          Plaintiff,

          v.

  FEDERAL BUREAU OF PRISONS,

        Defendant.
  ______________________________________________________________________________

   [PROPOSED] ORDER REGARDING UNOPPOSED MOTION FOR WITHDRAWAL
                          OF APPEARANCE



          This matter having come before the Court on the Unopposed Motion to Withdraw as

  Counsel and the Court having reviewed the pleadings filed herein and being fully advised of the

  premises contained therein, it hereby GRANTS the Motion and ORDERS that:

     1. David M. Shapiro is hereby withdrawn from representing Plaintiff Prison Legal

  News.

     2. The Clerk of the Court shall terminate the association of David M. Shapiro with

  Plaintiff Prison Legal News.



  Dated this ___ day of ________, 2018.



                                              BY THE COURT:

                                              _________________________
